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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

KIMBERLY GREEN, CHERYL KILFOIL,
HEATHER SINCLAIR, LISA DONOVAN, and
MOLLY RAMIREZ, individually and on behalf               No. 20-cv-03878
of others similarly situated,
                                                        Judge John F. Kness
              Plaintiffs,

v.

RELIANCE STANDARD LIFE INSURANCE
COMPANY,

              Defendant.


     ORDER GRANTING PLAINTIFFS’ UNOPPOSED MOTION FOR FINAL APPROVAL
              OF CLASS AND COLLECTIVE ACTION SETTLEMENT

         On October 14, 2021, the Court held a final fairness hearing and heard Plaintiffs’

 unopposed motion for final approval of a class action. The Court has read and considered the

 Unopposed Motion for Final Approval of Class and Collective Action Settlement and Plaintiffs’

 Petition for an Award of Attorney’s Fees and Litigation Expenses, and other related material

 submitted by Plaintiffs, has heard the Parties’ presentation at hearing on final approval, and is

 otherwise fully informed in the premises:

         IT IS HEREBY ORDERED:

         1.    Unless otherwise defined herein, all terms in this Order (the “Final Approval

 Order”) will have the same meaning as defined in the Collective and Class Action Settlement

 Agreement (“Settlement Agreement”).

         2.    This Court has jurisdiction over the subject matter of this action and over all Parties

 to this action pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1367, including all Settlement Class
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Members, preliminarily certified by Order dated June 14, 2021 (ECF No. 43), and defined in the

Settlement Agreement as:

       FLSA Settlement Class – All Named and Opt-in Plaintiffs and all persons identified in
       the mediation data produced by Defendant on January 15, 2021, who worked for Reliance
       Standard Life Insurance Company as a salaried, exempt STD Claims Examiner II and/or a
       salaried, exempt LTD Claims Examiner I, between November 9, 2017 and February 10,
       2021.

       Maine Settlement Class - All Named and Opt-in Plaintiffs who worked for Defendant in
       Maine and all persons identified in the mediation data produced by Defendant on January
       15, 2021, who worked for Reliance Standard Life Insurance Company in Maine as a
       salaried, exempt STD Claims Examiner II and/or a salaried, exempt LTD Claims Examiner
       I between July 1, 2014 and February 10, 2021.

       3.      Pursuant to Rule 23, the Court confirms as final its certification of the Maine

Settlement Class for settlement purposes based on the findings in the Preliminary Approval Order

and in the absence of any objections from Settlement Class Members to such certification.

       4.      Two Maine Settlement Class Members timely requested exclusion from the

Settlement: Jonathan Bassett and Caryn Remick are excluded from the Maine Settlement Class.

       5.      Pursuant to Rule 23(e)(2), this Court hereby grants the Motion for Final Approval

of Class and Collective Action Settlement and finally approves the Settlement Agreement as set

forth therein. The Court finds that the Settlement memorialized in the Settlement Agreement, and

filed with the Court, is fair, reasonable, and adequate, and in the best interests of the Settlement

Class Members. The Court finds that: (a) the Class Representatives and Class Counsel, who have

significant experience representing parties in complex wage and hour class actions, have

adequately represented the Settlement Class Members; (b) the Settlement was reached pursuant to

arm’s-length negotiations between the parties with the assistance of a mediator; (c); the parties

have shown that the Gross Settlement Amount of $925,000.00 set forth in the Settlement

Agreement is adequate when considering (i) the costs, risks, and delay of trial and appeal, (ii) the




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method for distributing relief to the Settlement Class Members, including the method for

processing the Settlement Class Members’ claims, was effective, with there being no objections to

the Settlement from any of the Settlement Class Members (iii) the attorneys’ fees awarded to Class

Counsel, including the timing of payment, are fair (iv) the terms of the Settlement Agreement have

been properly identified; (d) and the Settlement treats all Settlement Class Members equitably

relative to each other.

       6.      Pursuant to 29 U.S.C. § 216(b), the Court approves the FLSA Settlement and

certifies the collective class under the FLSA. The Court further finds that with regard to the Fair

Labor Standards Act (“FLSA”) claims in the case, the proposed settlement is a fair and reasonable

resolution of a bona fide dispute. In particular, the Court finds the proposed settlement fair and

reasonable in light of the complexity, expense, and likely duration of continued litigation; the stage

of the proceedings; the risks of establishing liability and/or damages; the risks of maintaining the

Action through the trial; the reasonableness of the settlement fund in light of the best possible

recovery; and the reasonableness of the settlement fund in light of all the risks of litigation.

       7.      All FLSA Settlement Class Members’ Settlement Checks shall contain a limited

endorsement on the back of the check as provided in the Settlement Agreement. A FLSA

Settlement Class Member’s endorsement on the Settlement Check will act as a properly filed

Consent to join the FLSA claims in this lawsuit and an agreement to be bound by the Settlement.

       8.      The Court approves the release of claims set forth in Section III.2 of the Settlement

Agreement. The Release for Maine Settlement Class Members shall not apply to the two Maine

Settlement Class Members who timely requested exclusion from the Settlement.

       9.      The Court confirms as final the appointment of Douglas M. Werman and Maureen

A. Salas of Werman Salas P.C., Jack Siegel of Siegel Law Group PLLC, and Travis Hedgpeth of




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the Hedgpeth Law Firm, PC as class counsel for the Class Members pursuant to Federal Rule of

Civil Procedure 23.

       10.     The Court finds that the Notice of Settlement that was distributed to Settlement

Class Members pursuant to the Preliminary Approval Order constituted the best notice practicable

under the circumstances, was accomplished in all material respects, and fully met the requirements

of Rule 23, the Fair Labor Standards Act, and due process.

       11.     The Court finds that Class Members’ reaction to the settlement was positive. No

Class Member objected to the Settlement.

       12.     The Court finds that the proposed plan of allocation is rationally related to the

relative strengths and weaknesses of the respective claims asserted. The mechanisms and

procedures set forth in the Agreement by which payments are to be calculated and made to Maine

Settlement Class Members who did not timely opt out and to all FLSA Class Members are fair,

reasonable and adequate, and the Settlement Administrator shall issue Settlement Checks to Class

Members consistent with allocation described in Section III.8 of the Settlement Agreement.

       13.     The Parties are directed to perform the obligations set forth in the Settlement

Agreement, and the Court expressly adopts and incorporates herein all the terms of the Settlement

Agreement (ECF No. 38-1).

       14.     Class Counsel’s request for attorneys’ fees in the amount of $323,750.00 and for

litigation expenses in the amount of $10,695.14 is approved.

       15.     The Court approves and find reasonable the following Service Awards: $5,000.00

to each Class Representative and $1,000 to each Opt-in Plaintiff. These awards are in addition to

the payments each individual will receive as his or her ratable share of the Net Settlement Amount

as Settlement Class Members.




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       16.     The Court approves and find reasonable the payment of the Settlement

Administrator’s fees in the amount of $9,421 from the Gross Settlement Amount.

       17.     Pursuant to Section III.7 of the Settlement Agreement, Defendant is hereby ordered

to deposit the Gross Settlement Amount into the Qualified Settlement Fund established by the

Settlement Administrator by no later than 38 days after entry of this Order. Defendant shall deposit

the employer’s share of applicable payroll taxes into the Qualified Settlement Fund at the same

time it deposits the Gross Settlement Amount into the Qualified Settlement Fund.

       18.     This Action is dismissed without prejudice. The dismissal without prejudice will

convert to a dismissal with prejudice sixty days after Defendant has fully funded the Qualified

Settlement Fund with the Gross Settlement Amount and the employer share of payroll taxes.

       19.      The Court hereby enters Judgment approving the terms of the Settlement

Agreement. This Order shall constitute a final judgment for purposes of Fed. R. Civ. P. 58.

       20.     The Court retains jurisdiction over the Action for the purpose of interpreting,

implementing, and enforcing the terms of the Settlement Agreement.

SO ORDERED in No. 20-cv-03878.

Date: October 14, 2021
                                                     JOHN F. KNESS
                                                     United States District Judge




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